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UN|TED STATES D|STRICT COURT
WESTERN D|STR|CT OF TENNESSEE `FILED BC D'¢'

MEMPHis DivlsroN
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THOW\S M. GUU[D

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v 2.04cR20031 01 D WE GC_L`__; §_g_`__MS

UN|TED STATES OF AMER|CA

MELBA MALONE
Agril R. Goode, FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

*A*M*E*N*D*E*D* JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 through 4 of the indictment on JuIy 22, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section wm Offense Number!sl
Conciuded
18 U.S.C. § 1708 and § 2 Maii Theft, Aid and Abet 10/24/2002 1
18 U.S.C. § 1709 Mai| Theft by U.S. Posta| Service 10/24/2002 2
Emp|oyee
18 U.S.C. § 371, § 1708 Conspiracy to Possess Sto|en Mail 10/21/2000 3
and § 1029(a)(2) and Conspiracy to Commit Access
Device Fraud
18 U.S.C. § 1029(a)(2) Access Device Fraud 10/02/2002 4

and§2

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the lVlandatory
Victims Restitution Act of 1996

iT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 02/05/1957?}1i August 29, 2005
Deft’s U.S. |V|arsha| No.: None - 'i"'“-‘menr

` w ents.r!d on the docket shea

  

. .i`/Qr 32“3) ignch on

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Case No: 2:04CR20031-01 Defendant Name: Nle|ba MALONE Page 2 of 6

AM.

BERN|CE B. DONALD
UN|TED STATES D|STRICT JUDGE

Defendant’s Mailing Address:
5384 Horseshoe Trai|

Apt. #2

Nlemphis, TN 38115

  

August 50 , 2005

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PROBAT|ON

The defendant is hereby placed on probation for a term of *3 years with 8 months
of community confinement (ha|f-way house).

While on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth beiow). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitutionl

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regulariy at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controiied substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity. and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofncer;

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9. The defendant shall permit a probation ofhcer tc visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofncer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation ocher to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

*ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall provide third paity risk notification as directed by the Probation Officer.

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases without approval of the Probation
Ofi”icer.

3. The defendant shall provide the Probation Officer access to any requested financial
information

4. The defendant shall cooperate with the collection of DNA as directed by the Probation
Officer.

5. The defendant shall notifythe Probation Officer priorto withdrawing from any college course

currently enrolled in.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and deiinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$400.00 $1,078.01

The Specia| Assessment shall be due immediateiy.

FlNE
No fine imposed.

REST|TUT|ON

Restitution in the amount 0f$1,078.01 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total An'iount of Order
Name of pal¢ee Amount Restitution Ordered or
of Loss Percentage
of Payment

USAA Federa| Saving Bank $1,078.01 $1,078.01
Attn: Made|yn Garner, Bank

Fraud investigations

10750 McDermott Freeway

San Antonio, TX 78288

|f the defendant makes a partial payment, each payee shall receive an approximately

proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered wi|i be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments in the amount of
10% of gross income (i.e., total income from all sources before deductions,
exemptions, or other tax reductions.) The interest requirement shall be waived.

Un|ess the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financia| Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:04-CR-20031 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

